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                         UNITED STATES COURT OF APPEALS                        FILED
                                FOR THE NINTH CIRCUIT                           OCT 23 2020
                                                                            MOLLY C. DWYER, CLERK
                                                                             U.S. COURT OF APPEALS
  924 BEL AIR ROAD, LLC, a California                No.    20-55283
  Limited Liability Company,
                                                     D.C. No. 2:19-cv-01368-ODW-AFM
                     Plaintiff-Appellant,            Central District of California,
                                                     Los Angeles
    v.
                                                     ORDER
  ZILLOW GROUP, INC., a Washington
  Corporation; ZILLOW, INC., a Washington
  Corporation,

                     Defendants-Appellees,

  and

  DOES, 1 through 10, inclusive,

                     Defendant.

           The parties’ stipulated motion (Docket Entry No. 26) for voluntary dismissal

  is granted. This appeal is dismissed. See Fed. R. App. P. 42(b).

           Costs and fees shall be allocated pursuant to the parties’ stipulation.

           This order served on the district court shall act as and for the mandate of this

  court.

                                                      FOR THE COURT:
                                                      MOLLY C. DWYER
                                                      CLERK OF COURT

                                                      By: Linda K. King
                                                      Deputy Clerk
                                                      Ninth Circuit Rule 27-7
  LK/Pro Mo
